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                                   UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION AT PIKEVILLE
                                   CRIMINAL MINUTES – GENERAL

Case No. 7:19-CR-13-KKC-1                 At Lexington                 Date November 9, 2021

USA vs Allan Ray Collins            x present     x   custody         bond         OR     Age

PRESENT: HON. KAREN K. CALDWELL, U.S. DISTRICT JUDGE

                  Genia Denisio            Elaine Haberer         Ron L. Walker, Jr. for Jason D. Parman
                  Deputy Clerk             Court Reporter                Assistant U.S. Attorney

Counsel for Defendant     Richard A. Hughes        x present        retained        x appointed


PROCEEDINGS:          ALLOCUTION

       The parties appeared for final hearing for Allocution as noted. The Court heard statements of the
defendant and counsel, IT IS ORDERED as follows:

   1. The Court FINDS that the defendant violated the terms and conditions of supervision as alleged in the
      Supervised Release Violation Report.

   2. The Court ACCEPTS the Recommended Disposition (DE #12) and ADOPTS the findings in the
      Recommended Disposition. The sentence imposed is a variance from the recommended sentence.

   3. The Court REVOKES the defendant’s supervised release. A Revocation Judgment will be entered.

   4. Defendant was orally advised of his appellate rights.

   5. Defendant remanded to custody.


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